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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-310-CV



IN RE JOSEPH EARL WATSON	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and prohibition and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus and prohibition is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL &nbsp;A: &nbsp;HOLMAN, J.; CAYCE, C.J.; and LIVINGSTON, J. 



LIVINGSTON, J. would grant.



DELIVERED: &nbsp;November 27, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




